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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION


 FEDS FOR MEDICAL FREEDOM, et al.,

    Plaintiffs,                                  Civil Action 3:21-cv-00356

        v.

 JOSEPH R. BIDEN, JR., in his official
 capacity, et al.,

    Defendants.


                                 NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court

of Appeals for the Fifth Circuit from this Court’s January 21, 2022 Memorandum Opinion

and Order (ECF No. 36) granting Plaintiffs’ motion for preliminary injunction.


Dated: January 21, 2022                   Respectfully submitted,

                                          BRIT FEATHERSTON
                                          United States Attorney
                                          Eastern District of Texas

                                           /s/ James G. Gillingham
                                          JAMES G. GILLINGHAM
                                          Assistant United States Attorney
                                          Eastern District of Texas
                                          Acting Under Authority Conferred by 28 U.S.C. §
                                          515
                                          Attorney in Charge
                                          Texas Bar #24065295
                                          110 N. College Street; Suite 700
                                          Tyler, Texas 75702
                                          Telephone: (903) 510-9346
                                          Facsimile: (903) 590-1436
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                               James.Gillingham@usdoj.gov

                               Counsel for Defendants




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                             CERTIFICATE OF SERVICE

        I certify that on January 21, 2022, a true and accurate copy of the foregoing document
was filed electronically (via CM/ECF) and served on all counsel of record.

                                    /s/ James G. Gillingham
                                    JAMES G. GILLINGHAM




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